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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,                                     Case No. 05-cr-81165

v.
                                                      Hon. Sean F. Cox
D-1    KHAOPHONE SYCHANTHA,                           United States District Court Judge

      Defendant.
___________________________________/

MEMORANDUM OPINION & ORDER GRANTING DEFENDANT’S ORAL MOTION
    TO REPRESENT HIMSELF AND APPOINTING STANDBY COUNSEL

       Attorney David Lee was appointed to represent Defendant Khaopone Sychantha in May

2023. Defendant was dissatisfied with Lee’s representation and Lee moved to withdraw in

December 2023. The Court granted Lee’s motion and attorney David Steingold was appointed

in December 2023. At a recent hearing on September 20, 2024, Defendant voiced his

displeasure with Mr. Steingold’s representation and orally moved the Court to permit him to

represent himself.

       “[T]he Sixth Amendment guarantee[s] a criminal defendant the right to represent himself

or herself at trial.” United States v. Jones, 489 F.3d 243, 248 (6th Cir. 2007). But the Sixth

Amendment also guarantees the right to be represented by counsel, and this Court must assure

itself that a defendant has “knowingly and intelligently waive[d]” the latter right before it permits

him to exercise the former. United States v. McBride, 362 F.3d 360, 366 (6th Cir. 2004). The

Court found that Defendant knowingly and intelligently waived his right to counsel at the

September 20, 2024, hearing and shall permit him to represent himself.




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         But Defendant’s right to self-representation is not absolute. The Court may “appoint a

‘standby counsel’ to aid the accused if and when the accused requests help, and to be available to

represent the accused in the event that termination of the defendant’s self-representation becomes

necessary.” Faretta v. California, 422 U.S. 806, 834 n.46 (1975). Defendant agreed at the

September 20, 2024, hearing that Steingold should serve as standby counsel. The Court shall so

order.

         The Court may also “terminate self-representation by a defendant who deliberately

engages in serious and obstructionist misconduct.” Id. And a defendant may forfeit his right to

be present at trial “if, after he has been warned by the judge . . . , he nevertheless insists on

conducting himself in a manner so disorderly, disruptive, and disrespectful of the court that his

trial cannot be carried on with him in the courtroom.” Illinois v. Allen, 397 U.S. 337, 343

(1970). There shall be a zero-tolerance policy for disruptive or violent behavior at Defendant’s

trial and the Court shall terminate his self-representation if necessary.

         It is hereby ORDERED that Defendant’s oral motion for self-representation is

GRANTED and he may proceed pro se. It is further ORDERED that attorney David Steingold

is APPOINTED to serve as standby counsel for Defendant.

         IT IS SO ORDERED.

                                                        s/Sean F. Cox
                                                        Sean F. Cox
                                                        United States District Judge

Dated: October 2, 2024




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